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Edward D. Greim
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                                             April 23, 2021
Hon. Lewis J. Liman
United States Courthouse
Courtroom 17A
500 Pearl Street
New York, New York 10007

Re:    Eastern Profit Corp. Ltd. v. Strategic Vision US, LLC, Case No. 18-cv-2185 (LJL)-
       DCF/Strategic Vision’s Motion to Strike PX-59, PX-44, PX-47, and PX-50

Dear Judge Liman:

        Strategic Vision moves to strike several exhibits proffered by Eastern Profit during
its cross-examination of Strategic witness Sasha Gong.

        First, PX-59 purports to be a Stanford Internet Observatory Cyber Policy Center
report, “Sockpuppets Spin COVID Yarns: An Analysis of PRC-Attributed June 2020 Twitter
Takedown.” The attached certification indicates that it was a special prepared by the Center,
but it establishes none of the elements of a business record under FRE 803(6). It is not a
report of regular business activity (i.e., the decision of yet another party, Twitter, to allegedly
conduct a special investigation and reach a decision, and Twitter’s purported reasons and
basis for doing so) for which it is being offered. It was not prepared by someone with actual
knowledge of the activity, or with information transmitted by someone who has knowledge.
It was not kept or made in the course of a regular business activity. Certainly, the witness
had no knowledge of the report. PX-59 is hearsay offered for the truth of the matter asserted.
It also is an opinion by a collection of authors (Carly Miller, Vanessa Molter, Isabella Garcia-
Camargo, Renée DiResta), none identified as an expert in this case, about the views of
Stanford, the CCP, and the cyber policy community. Strategic did not challenge the
authenticity of the article as a Center report, but it should not be admitted.

        Second, Strategic moves to strike certain exhibits authored by Sasha Gong, including
PX-44 (Article in Wall Street Journal by Sasha Gong entitled How China Managed to Muffle
the Voice of America), PX-47 (Tibet.net Op-Ed by Sasha Gong entitled Spineless Federal
Bureaucrats Caved to Chinese Pressure to Censor Voice of America. Now They Deny It), and
PX-50 (Daily Caller Op-Ed by Sasha Gong entitled A Former RNC Finance Chair and His
Role in Malaysia’s Development Fund Scandal). These are hearsay offered for the truth of
the matter asserted when the author herself explained that her beliefs about Guo
fundamentally changed after the articles were written. As to the comments in the final
article, the evidence at trial established that the subject did not plead guilty to anything other
than that he did not register under FARA in connection with advocacy for a Malaysian
national. Sasha Gong testified that she did not read the guilty plea, and the article was
written long before the plea and its associated facts existed. Nor is the article evidence of the
subject’s alleged emails that were hacked, and no foundation was laid as to whether those
emails were authentic and how they were hacked and given to Ms. Gong.
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      While these articles could have been appropriately used in an attempt to impeach the
witness, they are not evidence and should not be received.



                                         Respectfully submitted,



                                         Edward D. Greim
                                         Attorney for Defendant/Counterclaimant


cc:   Counsel of record via ECF




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